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                                                                         Main Document Page 9 of 68
 Fill in this information to identify your case:

  Debtor 1                      Brock                       Alan                     Weld
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                    Central District of California

  Case number                                                                                                                                                            ❑   Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $23,219.96

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                       $23,219.96



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                        $0.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                             $0.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                        +             $575,500.18


                                                                                                                                                  Your total liabilities                    $575,500.18

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                       $4,558.65


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                     $4,111.16




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                          page 1 of 2
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Debtor 1            Brock                 Alan                   Weld                                            Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑   No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑   Yes



7. What kind of debt do you have?
   ❑   Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔
   ❑   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                              Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                          page 2 of 2
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                                                                    Main Document Page 12 of 68
 Fill in this information to identify your case and this filing:

  Debtor 1                 Brock                        Alan                         Weld
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Central                   District of         California

  Case number                                                                                                                                                          ❑   Check if this is an
                                                                                                                                                                           amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ✔
        ❑     No. Go to Part 2.

        ❑     Yes. Where is the property?

                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1                                                       ❑    Single-family home                                               the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑    Duplex or multi-unit building                                    Creditors Who Have Claims Secured by Property.
                description                                       ❑    Condominium or cooperative
                                                                                                                                       Current value of the            Current value of the
                                                                  ❑    Manufactured or mobile home
                                                                                                                                       entire property?                portion you own?
                                                                  ❑    Land
                                                                  ❑    Investment property
                City               State         ZIP Code         ❑    Timeshare                                                       Describe the nature of your ownership interest
                                                                  ❑    Other                                                           (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑    Debtor 1 only
                                                                  ❑    Debtor 2 only
                                                                                                                                       ❑    Check if this is community property
                                                                  ❑    Debtor 1 and Debtor 2 only                                           (see instructions)
                                                                  ❑    At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                       $0.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑    No
           ✔
           ❑    Yes




Official Form 106A/B                                                                Schedule A/B: Property                                                                              page 1
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       3.1     Make:                           Toyota            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                               FJ
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
               Model:
                                                                 ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.
                                               2012              ❑    Debtor 1 and Debtor 2 only
                                                                 ✔
               Year:                                                                                                                  Current value of the            Current value of the
                                                                 ❑    At least one of the debtors and another
                                                                                                                                      entire property?                portion you own?
                                               130000
               Approximate mileage:
                                                                 ✔
                                                                 ❑    Check if this is community property (see                                        $14,348.00                 $14,348.00
               Other information:                                     instructions)

                   Utility Truck
                   VIN: JTEBU4BF9CK143524


 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔
       ❑     No

       ❑     Yes


       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Model:
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                 ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.
               Year:                                             ❑    Debtor 1 and Debtor 2 only
                                                                                                                                      Current value of the            Current value of the
                                                                 ❑    At least one of the debtors and another
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑    Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                 $14,348.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:           Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑     No
       ✔
       ❑     Yes. Describe. .........
                                            General household items                                                                                                                $1,000.00


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ✔
       ❑     No

       ❑     Yes. Describe. .........




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
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Debtor Weld, Brock Alan                                                                                                                Case number (if known)



 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑    No
       ✔
       ❑    Yes. Describe. .........
                                               20 Guns being held by the Sheriff in Orange County CA                                                                                     unknown


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑    No
       ✔
       ❑    Yes. Describe. .........
                                               Everyday clothing and shoes                                                                                                                $500.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑    No
       ✔
       ❑    Yes. Describe. .........
                                               2 rings, one titanium and one gold                                                                                                         $200.00


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. .............




                                                                                                                                                                              ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                     $1,700.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:            Describe Your Financial Assets

 Do you own or have any legal or equitable                             Current value of the portion you own?
 interest in any of the following?                                     Do not deduct secured claims or exemptions.



Official Form 106A/B                                                                      Schedule A/B: Property                                                                           page 3
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 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔
       ❑   No

       ❑   Yes ...................................................................................................................................................      Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑   No
       ✔
       ❑   Yes .....................                                                          Institution name:

                                            17.1. Checking account:                            US Bank Acct#1644                                                                                             $0.00

                                            17.2. Checking account:                            USAA Federal Savings Bank #7829                                                                             $171.96


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔
       ❑   No

       ❑   Yes .....................       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about
           them....................        Name of entity:                                                                                                           % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about
           them....................        Issuer name:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                    page 4
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Debtor Weld, Brock Alan                                                                                      Case number (if known)



 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑   No
       ✔
       ❑   Yes. List each
           account separately. Type of account:                 Institution name:

                                        Retirement account:       ETrade - Ex-wife value of $50,000 remaining, no value to the Debtor.              unknown


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔
       ❑   No

       ❑   Yes ......................                         Institution name or individual:

                                        Electric:

                                        Gas:

                                        Heating oil:

                                        Security deposit on rental unit:

                                        Prepaid rent:

                                        Telephone:

                                        Water:

                                        Rented furniture:

                                        Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔
       ❑   No

       ❑   Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔
       ❑   No

       ❑   Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




Official Form 106A/B                                                         Schedule A/B: Property                                                   page 5
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Debtor Weld, Brock Alan                                                                            Case number (if known)



 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ❑   No
       ✔
       ❑   Yes. Give specific
                                           See Attached.                                                                                          unknown
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ❑   No
       ✔
       ❑   Yes. Give specific
                                           Intellectual Property (IP) for SOTA Offroad                                                            unknown
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ❑   No
       ✔
       ❑   Yes. Give specific
                                           United States Patent US 8,336,208 B1                                                                   unknown
           information about them. ...


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

 28.   Tax refunds owed to you

       ✔
       ❑   No

       ❑   Yes. Give specific information about
                them, including whether you                                                                  Federal:
                already filed the returns and
                                                                                                             State:
                the tax years. ...................
                                                                                                             Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔
       ❑   No

       ❑   Yes. Give specific information. ........
                                                                                                             Alimony:

                                                                                                             Maintenance:

                                                                                                             Support:

                                                                                                             Divorce settlement:

                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔
       ❑   No

       ❑   Yes. Give specific information. ........




Official Form 106A/B                                                  Schedule A/B: Property                                                        page 6
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 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑    No
       ✔
       ❑    Yes. Name the insurance company
                 of each policy and list its value. ...              Company name:                                             Beneficiary:                                       Surrender or refund value:

                                                                      Two Term policies                                          Weld Family Trust, Stacy Weld
                                                                      Death benefit $1,000,000.00                                                                                                  unknown
                                                                      Death benefit $2,000,000.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔
       ❑    No

       ❑    Yes. Give specific information. ........



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔
       ❑    No

       ❑    Yes. Describe each claim. ..............



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ❑    No
       ✔
       ❑    Yes. Describe each claim. ..............
                                                                  See Attached.                                                                                                                    unknown


 35.   Any financial assets you did not already list

       ❑    No
       ✔
       ❑    Yes. Give specific information. ........
                                                                  See Attached.                                                                                                                        $0.00




                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                   $171.96
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ❑    No. Go to Part 6.
       ✔
       ❑    Yes. Go to line 38.

                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔
       ❑    No

       ❑    Yes. Describe. .........




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 7
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 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ❑    No
       ✔
       ❑    Yes. Describe. .........
                                               Used C & C woodworking machine                                                                                                            $5,000.00


 41.   Inventory

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 42.   Interests in partnerships or joint ventures

       ❑    No
       ✔
       ❑    Yes. Describe .......

                                         Name of entity:                                                                                            % of ownership:

                                          1/3 share of IMT Holdings, LLC                                                                                              100.00%
                                          1601 Clarence Dr, Suite 250, Frisco, TX 75033-3867                                                                                             unknown
                                          (holding company for patent)


 43.   Customer lists, mailing lists, or other compilations

       ✔
       ❑    No

       ❑    Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                   ❑     No

                   ❑     Yes. Describe. .........




 44.   Any business-related property you did not already list

       ❑    No
       ✔
       ❑    Yes. Give specific
            information .........

                                          Various automotive tools                                                                                                                       $2,000.00




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                     $7,000.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔
       ❑    No. Go to Part 7.

       ❑    Yes. Go to line 47.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                           page 8
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Debtor Weld, Brock Alan                                                                                                                    Case number (if known)



                                                                                                                                                                                        Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔
       ❑    No

       ❑    Yes ..........................



 48.   Crops—either growing or harvested

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔
       ❑    No

       ❑    Yes ..........................



 50.   Farm and fishing supplies, chemicals, and feed

       ✔
       ❑    No

       ❑    Yes ..........................



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                        $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                       $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔                   $0.00


 56.   Part 2: Total vehicles, line 5                                                                                $14,348.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                     page 9
            Case 6:23-bk-12634-RB                                  Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                                       Desc
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Debtor Weld, Brock Alan                                                                                                    Case number (if known)



 57.   Part 3: Total personal and household items, line 15                                                $1,700.00

 58.   Part 4: Total financial assets, line 36                                                              $171.96

 59.   Part 5: Total business-related property, line 45                                                   $7,000.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                               $0.00

 61.   Part 7: Total other property not listed, line 54                                 +                      $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                $23,219.96         Copy personal property total         ➔   +     $23,219.96



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................             $23,219.96




Official Form 106A/B                                                               Schedule A/B: Property                                                                      page 10
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Debtor Weld, Brock Alan                                                                         Case number (if known)



                 Continuation Page

                  Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
 25.
                  benefit

                  Pending litigation due to divorce                                                                                               unknown

                  Potential funds held in a trust from sale of home during
                  divorce proceedings in 2020, Debtor's home was sold from
                  under him by his spouse and was his intended domicile.                                                                          unknown


 34.              Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims

                  Personal Injury claim against insurance company for
                  T-Mobile/Sprint truck from auto accident in Scottsdale AZ
                  (Case is being litigated)                                                                                                       unknown

                  Retroactive claim for VA Benefits                                                                                               unknown


 35.              Any financial assets you did not already list

                  Social Security Disability payments of $2,766.00 per month                                                                            $0.00

                  VA Disability benefits of $1,782.65 per month                                                                                   unknown




Official Form 106A/B                                              Schedule A/B: Property                                                            page 11
                    Case 6:23-bk-12634-RB                   Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                    Desc
                                                            Main Document Page 23 of 68
 Fill in this information to identify your case:

  Debtor 1                    Brock                Alan                Weld
                              First Name           Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name        Last Name

  United States Bankruptcy Court for the:                        Central District of California

  Case number                                                                                                                       ❑    Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from         Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                       ✔
                                                                                       ❑               $7,500.00                C.C.P. § 704.010
 2012 Toyota FJ                                                         $14,348.00
 VIN: JTEBU4BF9CK143524 Utility Truck                                                  ❑   100% of fair market value, up
                                                                                           to any applicable statutory limit
 Line from
 Schedule A/B:          3.1

 Brief description:
                                                                                       ✔
                                                                                       ❑               $1,000.00                C.C.P. § 704.020
 General household items                                                  $1,000.00
                                                                                       ❑   100% of fair market value, up
 Line from                                                                                 to any applicable statutory limit
 Schedule A/B:          6


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
                 Case 6:23-bk-12634-RB                 Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                  Desc
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 Debtor 1             Brock             Alan                  Weld                                           Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑                $500.00                  C.C.P. § 704.020
 Everyday clothing and shoes                                         $500.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑                $200.00                  C.C.P. § 704.040
 2 rings, one titanium and one gold                                  $200.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑                $171.96                  C.C.P. § 704.225
 USAA Federal Savings Bank #7829                                     $171.96
 Checking account                                                              ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                               ✔
                                                                               ❑                 $0.00                   C.C.P. § 704.225
 US Bank Acct#1644                                                     $0.00
 Checking account                                                              ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                               ✔
                                                                               ❑               $5,000.00                 C.C.P. § 704.060(a)(2)
 Used C & C woodworking machine                                   $5,000.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        40.1

 Brief description:
                                                                               ✔
                                                                               ❑               $2,000.00                 C.C.P. § 704.060(a)(2)
 Various automotive tools                                         $2,000.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        44




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 2 of 2
                    Case 6:23-bk-12634-RB                           Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                         Desc
                                                                    Main Document Page 25 of 68
 Fill in this information to identify your case:

  Debtor 1                       Brock                   Alan                  Weld
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                                Central District of California

  Case number                                                                                                                                   ❑   Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and
case number (if known).
1. Do any creditors have claims secured by your property?
   ✔ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ❑
   ❑ Yes. Fill in all of the information below.
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor                       Column A             Column B             Column C
    separately for each claim. If more than one creditor has a particular claim, list the other                     Amount of claim      Value of             Unsecured
    creditors in Part 2. As much as possible, list the claims in alphabetical order according to the                Do not deduct the    collateral that      portion
    creditor’s name.                                                                                                value of             supports this        If any
                                                                                                                    collateral.          claim

 2.1                                                        Describe the property that secures the claim:
       Creditor's Name


       Number           Street
                                                            As of the date you file, the claim is: Check all that
                                                            apply.
                                                            ❑ Contingent
       City                       State       ZIP Code
       Who owes the debt? Check one.
       ❑ Debtor 1 only                                      ❑ Unliquidated
       ❑ Debtor 2 only                                      ❑ Disputed
       ❑ Debtor 1 and Debtor 2 only                         Nature of lien. Check all that apply.
       ❑ At least one of the debtors and                    ❑ An agreement you made (such as mortgage
          another                                                or secured car loan)
       ❑ Check if this claim relates to a                   ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                         lien)

       Date debt was incurred
                                                            ❑ Judgment lien from a lawsuit
                                                            ❑ Other (including a right to offset)
                                                            Last 4 digits of account number

       Add the dollar value of your entries in Column A on this page. Write that number here:                                           $0.00




Official Form 106D                                              Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 2
                    Case 6:23-bk-12634-RB                    Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                        Desc
                                                             Main Document Page 26 of 68
 Debtor 1                Brock              Alan                    Weld                                          Case number (if known)
                         First Name         Middle Name             Last Name


                                                                                                            Column A             Column B            Column C
                Additional Page
                                                                                                            Amount of claim      Value of            Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                          Do not deduct the    collateral that     portion
                2.3, followed by 2.4, and so forth.                                                         value of             supports this       If any
                                                                                                            collateral.          claim


 2.2                                                Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                    As of the date you file, the claim is: Check all that
                                                    apply.
                                                    ❑ Contingent
       City                    State   ZIP Code
       Who owes the debt? Check one.
       ❑ Debtor 1 only                              ❑ Unliquidated
       ❑ Debtor 2 only                              ❑ Disputed
       ❑ Debtor 1 and Debtor 2 only                 Nature of lien. Check all that apply.
       ❑ At least one of the debtors and            ❑ An agreement you made (such as mortgage
          another                                         or secured car loan)
       ❑ Check if this claim relates to a           ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                  lien)

       Date debt was incurred
                                                    ❑ Judgment lien from a lawsuit
                                                    ❑ Other (including a right to offset)
                                                    Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                   $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                     $0.00
       here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 2
                    Case 6:23-bk-12634-RB                     Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                        Desc
 Fill in this information to identify your case:              Main Document Page 27 of 68
  Debtor 1                  Brock                  Alan                Weld
                            First Name             Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name        Last Name

  United States Bankruptcy Court for the:                        Central District of California

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority       Nonpriority
                                                                                                                             claim       amount         amount

2.1      Franchise Tax Board                                                                                                  unknown         unknown             $0.00
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
         Personal Bankruptcy MS A340
                                                                    As of the date you file, the claim is: Check all that
         PO Box 942867                                              apply.
        Number          Street                                      ✔ Contingent
                                                                    ❑
         Sacramento, CA 94267                                       ✔ Unliquidated
                                                                    ❑
        City                             State     ZIP Code         ✔ Disputed
                                                                    ❑
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑                                                           Type of PRIORITY unsecured claim:
                                                                    ❑ Domestic support obligations
        ❑ Debtor 2 only                                             ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ Debtor 1 and Debtor 2 only                                   government
        ❑ At least one of the debtors and another                   ❑ Claims for death or personal injury while you
        ❑ Check if this claim is for a community debt                  were intoxicated
                                                                    ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of 12
                    Case 6:23-bk-12634-RB                    Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                  Desc
 Debtor 1             Brock                Alan              Main Weld
                                                                  Document Page 28 of 68 Case number (if known)
                      First Name           Middle Name             Last Name

 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                  Total   Priority      Nonpriority
                                                                                                                          claim   amount        amount

2.2     Internal Revenue Service                                                                                           unknown     unknown           $0.00
                                                                  Last 4 digits of account number
       Priority Creditor's Name
                                                                  When was the debt incurred?
        Centralized Insolvency Operation
                                                                  As of the date you file, the claim is: Check all that
        Po Box 7346                                               apply.
                                                                  ✔
       Number          Street
        Philadelphia, PA 19101-7346
                                                                  ❑   Contingent
       City                            State      ZIP Code        ✔
                                                                  ❑   Unliquidated
       Who incurred the debt? Check one.                          ✔
                                                                  ❑   Disputed
       ✔
       ❑      Debtor 1 only                                       Type of PRIORITY unsecured claim:
       ❑      Debtor 2 only                                       ❑   Domestic support obligations
       ❑      Debtor 1 and Debtor 2 only                          ✔
                                                                  ❑   Taxes and certain other debts you owe the
       ❑      At least one of the debtors and another                 government

       ❑                                                          ❑   Claims for death or personal injury while you
              Check if this claim is for a community debt
                                                                      were intoxicated
       Is the claim subject to offset?                            ❑   Other. Specify
       ❑      No
       ✔
       ❑      Yes
        Remarks: Notice only

2.3     Stacey Weld                                                                                                        unknown     unknown           $0.00
                                                                  Last 4 digits of account number
       Priority Creditor's Name
                                                                  When was the debt incurred?
        1920 Sherry Ln Apt 29
       Number          Street                                     As of the date you file, the claim is: Check all that
                                                                  apply.
        Santa Ana, CA 92705-7633
       City                            State      ZIP Code        ❑   Contingent
       Who incurred the debt? Check one.                          ✔
                                                                  ❑   Unliquidated
       ✔
       ❑      Debtor 1 only                                       ✔
                                                                  ❑   Disputed
       ❑      Debtor 2 only                                       Type of PRIORITY unsecured claim:
       ❑      Debtor 1 and Debtor 2 only                          ✔
                                                                  ❑   Domestic support obligations
       ❑      At least one of the debtors and another             ❑   Taxes and certain other debts you owe the
       ❑      Check if this claim is for a community debt
                                                                      government

       Is the claim subject to offset?
                                                                  ❑   Claims for death or personal injury while you
                                                                      were intoxicated
       ❑      No                                                  ❑   Other. Specify
       ✔
       ❑      Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      page 2 of 12
                    Case 6:23-bk-12634-RB                     Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                     Desc
 Debtor 1             Brock                 Alan              Main Weld
                                                                   Document Page 29 of 68 Case number (if known)
                      First Name            Middle Name             Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

4.1     AMERICAN EXPRESS                                                     Last 4 digits of account number 2713                                        $16,542.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?        04/07/2011
        PO BOX 297871                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
                                                                             ❑ Contingent
        FORT LAUDERDALE, FL 33329
       City                            State       ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔ Debtor 1 only
       ❑                                                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑ Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                             ❑
                                                                                 divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔ No
       ❑                                                                         CreditCard
       ❑      Yes

4.2     Arelis Hughes, Esq.                                                                                                                              $14,000.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        Cooper Hughes
                                                                             As of the date you file, the claim is: Check all that apply.
        1915 W Orangewood Ave Suite 115
       Number          Street
                                                                             ❑ Contingent
        Orange, CA 92868                                                     ❑   Unliquidated
       City                            State       ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                     ❑ Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
                                                                             ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Legal fees
       ✔ No
       ❑
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                            page 3 of 12
                    Case 6:23-bk-12634-RB                    Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                               Desc
 Debtor 1             Brock                Alan              Main Weld
                                                                  Document Page 30 of 68 Case number (if known)
                      First Name           Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.3     Blake Ramthun                                                                                                                             unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        5765 Honduras Way
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Buena Park, CA 90620                                               ❑   Contingent
       City                            State      ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                   ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                           Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                   ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                          divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                           ❑   Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔
                                                                           ❑
       ✔
       ❑      No
                                                                               Other. Specify
                                                                               Ex business partner indemnification
       ❑      Yes

4.4     CAPIO                                                              Last 4 digits of account number 8489                                  $1,022.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/07/2022
        CAPIO PARTNERS LLC
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        DALLAS, TX 75312
                                                                           ❑   Contingent
       City                            State      ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                   ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                   ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                          divorce that you did not report as priority claims

       ❑                                                                   ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                      similar debts
       Is the claim subject to offset?                                     ✔
                                                                           ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                    page 4 of 12
                    Case 6:23-bk-12634-RB                    Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                               Desc
 Debtor 1             Brock                Alan              Main Weld
                                                                  Document Page 31 of 68 Case number (if known)
                      First Name           Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.5     CITICARDS CBNA                                                     Last 4 digits of account number 5984                                  $57,208.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        12/17/2013
        PO BOX 6241
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        SIOUX FALLS, SD 57117
                                                                           ❑   Contingent
       City                            State      ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                   ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                   ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                          divorce that you did not report as priority claims

       ❑                                                                   ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                      similar debts
       Is the claim subject to offset?                                     ✔
                                                                           ❑   Other. Specify
       ✔
       ❑      No                                                               FlexibleSpendingCreditCard
       ❑      Yes

4.6     CONSOLIDATED RCVY GRP                                              Last 4 digits of account number 70N1                                  $27,681.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        01/24/2020
        262 EASTGATE DR STE 431
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        AIKEN, SC 29803
                                                                           ❑   Contingent
       City                            State      ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                   ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                   ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                          divorce that you did not report as priority claims

       ❑                                                                   ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                      similar debts
       Is the claim subject to offset?                                     ✔
                                                                           ❑   Other. Specify
       ✔
       ❑      No                                                               CollectionAttorney
       ❑      Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                    page 5 of 12
                    Case 6:23-bk-12634-RB                    Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                               Desc
 Debtor 1             Brock                Alan              Main Weld
                                                                  Document Page 32 of 68 Case number (if known)
                      First Name           Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.7     ENHANCED RECOVERY CO L                                             Last 4 digits of account number 5482                                    $589.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        07/19/2022
        8014 BAYBERRY RD
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        JACKSONVILLE, FL 32256
                                                                           ❑   Contingent
       City                            State      ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                   ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                   ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                          divorce that you did not report as priority claims

       ❑                                                                   ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                      similar debts
       Is the claim subject to offset?                                     ✔
                                                                           ❑   Other. Specify
       ✔
       ❑      No                                                               Collection Attorney
       ❑      Yes

4.8     JPMorgan Chase Bank, NA                                                                                                                $250,000.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        09/20/2016
        Collateral Mgmt Small Business
                                                                           As of the date you file, the claim is: Check all that apply.
        Po Box 33035                                                       ✔
                                                                           ❑   Contingent
       Number          Street
        Louisville, KY 40232-3035                                          ❑   Unliquidated
       City                            State      ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                ❑   Student loans
       ❑      Debtor 2 only                                                ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                       divorce that you did not report as priority claims
       ✔
       ❑      At least one of the debtors and another
                                                                           ❑   Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑      Check if this claim is for a community debt                  ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
        Remarks: Potential personal liability of business debt of SOTA Offroad Inc. (CA UCC file # 167546775907 filed 9/20/2016
        Active)




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                    page 6 of 12
                    Case 6:23-bk-12634-RB                    Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                   Desc
 Debtor 1             Brock                Alan              Main Weld
                                                                  Document Page 33 of 68 Case number (if known)
                      First Name           Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.9     Michael Wallen, Esq.                                                                                                                          $3,378.01
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        The Wallin Firm
                                                                               As of the date you file, the claim is: Check all that apply.
                                                                               ❑
        21151 S Western Ave # 233
       Number          Street                                                      Contingent

        Torrance, CA 90501-1724                                                ❑   Unliquidated
       City                            State      ZIP Code                     ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                           divorce that you did not report as priority claims
       ❑      At least one of the debtors and another
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       ❑      Check if this claim is for a community debt                      ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Attorneys fees
       ✔
       ❑      No
       ❑      Yes

4.10    Minyard Morris                                                                                                                                $6,200.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        c/o Jonathan Little
                                                                               As of the date you file, the claim is: Check all that apply.
                                                                               ❑
        1811 Quail Street
       Number          Street                                                      Contingent

        Newport Beach, CA                                                      ❑   Unliquidated
       City                            State      ZIP Code                     ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                           divorce that you did not report as priority claims
       ❑      At least one of the debtors and another
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       ❑      Check if this claim is for a community debt                      ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Patent and Family Law Attorney
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        page 7 of 12
                    Case 6:23-bk-12634-RB                    Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                   Desc
 Debtor 1             Brock                Alan              Main Weld
                                                                  Document Page 34 of 68 Case number (if known)
                      First Name           Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.11    OnDeck Financial                                                                                                                           $197,250.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        1400 Broadway
       Number          Street                                                  As of the date you file, the claim is: Check all that apply.
        New York, NY 10018                                                     ❑   Contingent
       City                            State      ZIP Code                     ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only
                                                                               Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Business Loan
       ❑      Yes

4.12    PROGRESSIVE MGMT SYSTE                                                 Last 4 digits of account number 9606                                    $633.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?        03/01/2021
        1521 W CAMERON AVE FL 1
                                                                               As of the date you file, the claim is: Check all that apply.
       Number          Street
        WEST COVINA, CA 91790
                                                                               ❑   Contingent
       City                            State      ZIP Code                     ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims

       ❑                                                                       ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   CollectionAttorney
       ❑      Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        page 8 of 12
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 Debtor 1             Brock                Alan              Main Weld
                                                                  Document Page 35 of 68 Case number (if known)
                      First Name           Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.13    Secured Lender Solutions                                                                                                                      unknown
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        Po Box 2576
       Number          Street                                                  As of the date you file, the claim is: Check all that apply.
        Springfield, IL 62708-2576                                             ❑   Contingent
       City                            State      ZIP Code                     ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ❑      Debtor 1 only
                                                                               Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Potential liability for business loan - Sota Offroad,
       ❑      Yes                                                                  Inc.

        Remarks: CA UCC file #197713649128 (filed 5/23/2019)

4.14    Stacy Weld                                                                                                                                    unknown
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        13232 Sussex Pl
       Number          Street                                                  As of the date you file, the claim is: Check all that apply.
        Santa Ana, CA 92705-2152                                               ❑   Contingent
       City                            State      ZIP Code                     ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                               Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Indemnification claim of ex wife
       ❑      Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        page 9 of 12
                    Case 6:23-bk-12634-RB                    Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                   Desc
 Debtor 1             Brock                Alan              Main Weld
                                                                  Document Page 36 of 68 Case number (if known)
                      First Name           Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.15    USAA SAVINGS BANK                                                      Last 4 digits of account number 4369                                    $997.17
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?        03/01/2022
        PO BOX 47504
                                                                               As of the date you file, the claim is: Check all that apply.
       Number          Street
        SAN ANTONIO, TX 78265
                                                                               ❑   Contingent
       City                            State      ZIP Code                     ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims

       ❑                                                                       ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                          similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   CreditCard
       ❑      Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       page 10 of 12
                Case 6:23-bk-12634-RB                    Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                     Desc
 Debtor 1           Brock                Alan            Main Weld
                                                              Document Page 37 of 68 Case number (if known)
                    First Name           Middle Name             Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you
     do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Zwicker & Associates, P.C.                                 On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        700 North Brand Boulevard 500                              Line   4.1
       Number          Street                                                                  ✔
                                                                                               ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Glendale, CA 91203
       City                                State     ZIP Code      Last 4 digits of account number

                                                                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                   Line
       Number          Street                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                   Last 4 digits of account number

       City                                State     ZIP Code




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                           page 11 of 12
                Case 6:23-bk-12634-RB                    Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                               Desc
 Debtor 1          Brock                  Alan           Main Weld
                                                              Document Page 38 of 68 Case number (if known)
                   First Name             Middle Name           Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                         Total claim


                   6a. Domestic support obligations                           6a.                             $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the              6b.                             $0.00
                       government

                   6c. Claims for death or personal injury while you          6c.                             $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.        6d.   +                         $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                        6e.                              $0.00




                                                                                         Total claim


                   6f. Student loans                                          6f.                             $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                6g.                             $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and          6h.                             $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured             6i.   +                  $575,500.18
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                        6j.                       $575,500.18




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                    page 12 of 12
                       Case 6:23-bk-12634-RB                        Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                    Desc
                                                                    Main Document Page 39 of 68
 Fill in this information to identify your case:

     Debtor 1                       Brock                Alan                Weld
                                    First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                           Central District of California

     Case number                                                                                                                             ❑   Check if this is an
     (if known)                                                                                                                                  amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                  State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 1
                    Case 6:23-bk-12634-RB                         Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                  Desc
                                                                  Main Document Page 40 of 68
 Fill in this information to identify your case:

  Debtor 1                       Brock                  Alan               Weld
                                 First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                            Central District of California

  Case number                                                                                                                           ❑    Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
          ❑ No
          ✔ Yes. In which community state or territory did you live? California
          ❑                                                                                                   . Fill in the name and current address of that person.
                 Weld, Stacey
                Name of your spouse, former spouse, or legal equivalent
                 1920 Sherry Ln Apt 29
                Number           Street
                 Santa Ana, CA 92705-7633
                City                                  State    ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt
                                                                                                             Check all schedules that apply:
3.1
      Blake Ramthun                                                                                          ❑ Schedule D, line
      Name                                                                                                   ✔ Schedule E/F, line
                                                                                                             ❑                       4.8

      Number            Street                                                                               ❑ Schedule G, line
      City                                    State   ZIP Code

3.2
      SOTA Offroad, Inc. f/k/a BMF Wheels, Inc.                                                              ❑ Schedule D, line
      Name                                                                                                   ✔ Schedule E/F, line
                                                                                                             ❑                       4.8, 4.11, 4.13
      1791 E Miraloma Ave
      Number            Street                                                                               ❑ Schedule G, line
      Placentia, CA 92870-6785
      City                                    State   ZIP Code

3.3
      Stacey Weld                                                                                            ❑ Schedule D, line
      Name                                                                                                   ✔ Schedule E/F, line
                                                                                                             ❑                       4.8
      1920 Sherry Ln Apt 29
      Number            Street                                                                               ❑ Schedule G, line
      Santa Ana, CA 92705-7633
      City                                    State   ZIP Code

Official Form 106H                                                             Schedule H: Your Codebtors                                                     Page 1 of 1
                    Case 6:23-bk-12634-RB                   Doc 1 Filed 06/18/23 Entered 06/18/23 15:36:44                                         Desc
                                                            Main Document Page 41 of 68
 Fill in this information to identify your case:

  Debtor 1                  Brock                  Alan                Weld
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name                                               Check if this is:

  United States Bankruptcy Court for the:                        Central District of California                               ❑ An amended filing
                                                                                                                              ❑ A supplement showing postpetition
  Case number                                                                                                                    chapter 13 income as of the following date:
  (if known)

                                                                                                                                 MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                         ✔ Not Employed
                                                                            ❑ Employed ❑                                       ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation
     employers.
                                             Employer's name
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address
     Occupation may include student                                           Number Street                                     Number Street
     or homemaker, if it applies.




                                                                              City                     State   Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                           For Debtor 1   For Debtor 2 or
                                                                                                                          non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.               2.                 $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                   3.   +             $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                              4.                 $0.00                     $0.00




Official Form 106I                                                            Schedule I: Your Income                                                              page 1
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 Debtor 1                 Brock                        Alan                            Weld                                          Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.                $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.               $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.               $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h.   +           $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.                $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.                $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.           $2,776.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify: Income from All Other Sources -                                      8h.   +       $1,782.65        +           $0.00
                                          VA Disability Benefits

 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.            $4,558.65                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $4,558.65    +               $0.00         =          $4,558.65

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.             $4,558.65

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Fill in this information to identify your case:

  Debtor 1                  Brock                   Alan                 Weld
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Central District of California
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               16                 ✔ No. ❑ Yes.
                                                                                                                                               ❑
                                                                                        Child                               13                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                           $0.00


     If not included in line 4:
                                                                                                                              4a.                          $0.00
     4a. Real estate taxes
                                                                                                                              4b.                          $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                          $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1             Brock                 Alan                  Weld                                       Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                         $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                        $0.00

       6b. Water, sewer, garbage collection                                                                        6b.                        $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                   $157.00

       6d. Other. Specify:                                                                                         6d.                        $0.00

 7.    Food and housekeeping supplies                                                                              7.                         $0.00

 8.    Childcare and children’s education costs                                                                    8.                  $1,000.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                         $0.00

 10. Personal care products and services                                                                           10.                        $0.00

 11.   Medical and dental expenses                                                                                 11.                       $29.16

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $200.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                        $0.00

 14. Charitable contributions and religious donations                                                              14.                        $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                  $475.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                       $0.00

       15c. Vehicle insurance                                                                                      15c.                       $0.00

       15d. Other insurance. Specify:                Car insurance                                                 15d.                  $250.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                        $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                       $0.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                       $0.00
       17c. Other. Specify:
                                                                                                                   17d.                       $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00
       20b. Real estate taxes                                                                                      20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                       $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                 page 2
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                     First Name          Middle Name            Last Name



 21. Other. Specify: Travel expenses (plane fares, car rental, hotel or airbnb)                                   21.     +           $2,000.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                $4,111.16

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                $4,111.16


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $4,558.65

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –           $4,111.16

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                 $447.49
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
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                     First Name         Middle Name          Last Name




                                                                                                                                 Amount


   12. Transportation: gas, maintenance, bus or train fare
                                                                                                                                 $200.00
       Car rental                                                                                                                  $0.00




Official Form 106J                                                   Schedule J: Your Expenses                                       page 4
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XXX
X

Anerio V. Altman, ESq.
                                                              2/1/2023     $2,000
26632 Towne Centre Drive #300

Foothill Ranch, CA 92610


avaesq@lakeforestbkoffice.com
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                Central District of California

In re        Weld, Brock Alan

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      13


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $2,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $2,000.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        Contested Matters as defined under the Local Rules of Bankruptcy Procedure




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                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        06/18/2023                                        /s/ Anerio Ventura Altman, Esq.
                Date                                         Anerio Ventura Altman, Esq.
                                                             Signature of Attorney
                                                                                                Bar Number: 228445
                                                                                             Lake Forest Bankruptcy
                                                                                             Lake Forest Bankruptcy
                                                                                                    P.O. Box 515381
                                                                                             Los Angeles, CA 90051
                                                                                             Phone: (949) 218-2002

                                                                            Lake Forest Bankruptcy
                                                            Name of law firm




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